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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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PHYTO TECH CORP. d/b/a BLUE CALIFORNIA,

                                      Plaintiff,                           Civil Action No.
                                                                           1:19-cv-09033-JGK
v.

GIVAUDAN SA,

                                    Defendant.
-----------------------------------------------------------------
    ORDER GRANTING LIQUIDATING TRUSTEE’S MOTION FOR CONTROL OF
                ACCOUNTS AND TURNOVER OF UNENCUMBERED FUNDS

           This matter coming before the Court on the Liquidating Trustee’s Motion for Control of

Accounts and Turnover of Encumbered Funds (the “Motion”),1 filed December 21, 2020; and the

Court having reviewed and considered the Motion; and no party which has appeared herein

having opposed the relief sought herein; and after due deliberation thereon; and good and

sufficient cause appearing therefor, IT IS HEREBY ORDERED THAT:

           1.       The Motion is GRANTED as set forth herein.

           2.       The Liquidating Trustee is authorized to immediately take control of the

Accounts.

           3.       The Liquidating Trustee is authorized to immediately transfer the cash in the

Unencumbered Account to a new, segregated account within his control.

           4.       Immediately upon the release of the lien of East West Bank on the Encumbered

Account, the Liquidating Trustee is authorized to transfer the cash in the Encumbered Account to

the same Trustee-controlled account such that all BGN funds reside in one account.

DATED: December 30, 2020                                        /s/ John G. Koeltl______________
                                                                Hon. John G. Koeltl
                                                                United States District Judge
1
    Capitalized terms used but not defined herein have the meanings ascribed to such terms in the Motion.


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